           Case 2:22-cv-00389-DCN Document 19-1 Filed 12/29/22 Page 1 of 3




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10                        UNITED STATES DISTRICT COURT
                      DISTRICT OF IDAHO (NORTHERN DIVISION)
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12   CODY J. SCHUELER, an individual,
13
14                        Plaintiff,         Case No. 2:22-cv-00389-DCN
15
16
          v.
                                             [PROPOSED] ORDER OF
17
     FOUR SQUAREBIZ, LLC, a                  DEFAULT— DEFENDANT
18   Wyoming limited liability company,      FOUR SQUAREBIZ, LLC
19   KEITH O. CREWS, an individual and
20   the associated marital community,
21
     MICAH EIGLER, an individual and
     the associated marital community, and
22
     JOHN AND JANE DOES 1-10,
23
24                        Defendants.
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26
          THIS MATTER came before the Court pursuant to Plaintiff Cody J.
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     Schueler’s Motion for Default against Defendant Four SquareBiz, LLC
29
30   (hereinafter “Four SquareBiz”).
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       Order of Default—Page 1
           Case 2:22-cv-00389-DCN Document 19-1 Filed 12/29/22 Page 2 of 3




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          The Court has reviewed the moving papers and is fully advised. The Court
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3    FINDS that Four SquareBiz has not appeared or otherwise defended this action.
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5
     As such, it is HEREBY ORDERED that Defendant Four SquareBiz is in
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     default.
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8         IT IS SO ORDERED this ___ day of January, 2023.
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12                                COURT CLERK, DISTRICT OF IDAHO
13                                UNITED STATES DISTRICT COURT
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       Order of Default—Page 2
           Case 2:22-cv-00389-DCN Document 19-1 Filed 12/29/22 Page 3 of 3




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                                 CERTIFICATE OF SERVICE
2
3         The undersigned certifies, under penalty of perjury of the laws of the
4
5
     United States, that on the date given below, I caused to be served in the manner
6
     noted copies of the foregoing document upon the following parties:
7
8       Keith Crews                                U.S. Mail
9       okcrews@yahoo.com                          Facsimile
10      1503 Scenic Overlook Court                 E-Mail
        Kennesaw, GA 30152                         Via Hand Delivery
11
12
        Micah Eigler
13      eigler1@gmail.com                          U.S. Mail
14      6208 Enfield Avenue                        Facsimile
15      Los Angeles, CA 91316                      E-Mail
16      PO Box 9042                                Via Hand Delivery
17
        Calabasas, CA 91372
18
        Four SquareBiz, LLC
19                                                 U.S. Mail
        okcrews@4squarebiz.com
                                                   Facsimile
20      C/o Registered Agents Inc.
                                                   E-Mail
21      30 North Gould Street, Suite R
        Sheridan, WY 82801                         Via Hand Delivery
22
23
24        EXECUTED this 29th day of December, 2022 in Spokane, Washington.
25
26
27                                   By:/s/ Jodi Dineen
                                        Jodi Dineen
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       Order of Default—Page 3
